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                   16
                                                   UNITED STATES DISTRICT COURT
                   17
                                                NORTHERN DISTRICT OF CALIFORNIA
                   18
                                                        SAN FRANCISCO DIVISION
                   19
                        RICHARD KADREY, et al.,                         Case No. 3:23-cv-03417-VC-TSH
                   20
                           Individual and Representative Plaintiffs,    UNOPPOSED ADMINISTRATIVE MOTION TO
                   21                                                   FILE UNDER SEAL JOINT DISCOVERY
                               v.                                       LETTER BRIEF AND EXHIBITS
                   22
                        META PLATFORMS, INC., a Delaware
                   23   corporation;
                   24                                   Defendant.
                   25

                   26

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                                                                                            ADMIN. MOTION TO SEAL
                                                                                             3:23-CV-03417-VC-TSH
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                    1          Pursuant to Civil Local Rule 79-5(c) and 79-5(d), Defendant Meta Platforms, Inc. (“Meta”)
                    2   moves this Court for an Order allowing Meta to file under seal confidential, unredacted versions of
                    3   certain documents relating to the Parties’ Omnibus briefing Re: Existing Written Discovery (“Joint
                    4   Letter Brief”). Meta respectfully submits that good cause exists for the filing of these documents
                    5   under seal. The motion is based on the following Memorandum of Points and Authorities and the
                    6   Declaration of Michelle Woodhouse in support of this Unopposed Administrative Motion to File
                    7   Under Seal.
                    8          The following chart lists the documents for which Meta requests sealing – in whole or in
                    9   part – in order to protect Meta’s confidential business information.
                   10
                         Document                                         Sealing Request
                   11
                         Joint Letter Brief                                       Redacted portions
                   12
                         Exhibit B to Declaration of Maxwell V. Pritt             Redacted portions
                   13    (“Pritt Declaration”)
                   14    Exhibit D to Pritt Declaration (“Krein                   Redacted portions
                         Declaration”)
                   15

                   16
                         Exhibit 6 to Joint Letter Brief                          Redacted portions

                   17   A [Proposed] Order is filed concurrently herewith, and Meta refers the Court to the Joint Letter

                   18   Brief itself and the supporting evidence attached thereto as further support for this Unopposed

                   19   Administrative Motion.
                        I.     LEGAL ARGUMENT
                   20
                               Though the presumption of public access to judicial proceedings and records is strong, it
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                        “is not absolute.” Nixon v. Warner Commc’ns. Inc., 435 U.S. 589, 598 (19787). The Ninth Circuit
                   22
                        treats documents “attached to dispositive motions differently from records [i.e., documents]
                   23
                        attached to non-dispositive motions.” Kamakana v. City & Cty. of Honolulu, 447 F.3d 1172, 1180
                   24
                        (9th Cir. 2006); Ctr. for Auto Safety v. Chrysler Grp., 809 F.3d 1092, 1098 (9th Cir. 2016). For
                   25
                        non-dispositive motions, such as the Parties’ Joint Letter Brief, the “good cause” standard applies.
                   26
                        OpenTV v. Apple, No. 14-cv-01622-HSG, 2015 WL 5714851, at *2 (N.D. Cal. Sept. 17, 2015);
                   27
                        Kamakana, 447 F.3d at 1180 (“A ‘good cause’ showing will suffice to seal documents produced in
                   28
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                                                                                                       ADMIN MOTION TO SEAL
                                                                          1                            3:23-CV-03417-VC-TSH
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                    1   discovery.”). The Federal Rules afford district courts “flexibility in balancing and protecting the
                    2   interests of private parties.” Kamakana, 447 F.3d at 1180; DSS Tech. Mgmt. v. Apple, No. 14-cv-
                    3   05330-HSG, 2020 WL 210318, at *8 (N.D. Cal. Jan. 14, 2020), aff’d, 845 F. App’x 963
                    4   (Fed. Cir. 2021) (finding good cause to seal “confidential business and proprietary information”).
                    5          The portions of the Joint Letter Brief, Exhibit B to the Pritt Declaration, the Krein
                    6   Declaration, and Exhibit 6 to the Joint Letter Brief contain Meta’s confidential information, for
                    7   which Meta requests sealing. Exhibit B to the Pritt Declaration and Exhibit 6 to the Joint Letter
                    8   Brief consist of excerpts of Meta’s responses to Plaintiffs’ Interrogatories which contain highly
                    9   confidential information regarding Meta’s Llama models, including highly sensitive technical
                   10   information. The Krein Declaration also includes detailed technical discussion concerning the
                   11   Meta’s source code for its Llama models, which Meta seeks to redact. The portions of the Joint
                   12   Letter Brief that Meta seeks to redact quote from or describe the contents of the documents
                   13   discussed above. Meta must request sealing of these materials, as this information is highly
                   14   confidential, and Meta takes steps to carefully protect the confidentiality of information of this sort,
                   15   as disclosure has the potential to cause significant competitive injury to Meta. See, e.g., Krieger v.
                   16   Atheros Commc’ns, Inc., No. 11-CV-640-LHK, 2011 WL 2550831, at *1 (N.D. Cal. Jun. 25, 2011)
                   17   (finding information regarding party’s “long-term financial projections, discussions of business
                   18   strategy, and competitive analyses” sealable); Space Data Corp. v. Alphabet Inc., No. 16-CV-
                   19   03260-BLF, 2019 WL 285799, at *1 (N.D. Cal. Jan. 22, 2019) (finding information regarding
                   20   party’s confidential and proprietary technical information, and sensitive financial information
                   21   sealable). These sealing requests are critical to protect Meta’s confidential sensitive technical and
                   22   competitive information.
                   23          The specific basis for sealing these materials is outlined in the accompanying declaration
                   24   of Meta’s Associate General Counsel, Michelle Woodhouse. As outlined in Ms. Woodhouse’s
                   25   declaration, disclosure of the protected information contained in the materials Meta seeks to seal
                   26   would cause competitive harm to Meta if this information is publicly disclosed. Meta’s sealing
                   27   requests and proposed redactions are narrowly tailored to include only that information which
                   28   would cause specific, articulable harm, as identified in Ms. Woodhouse’s declaration. In each
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                    1   instance, the harm to Meta outweighs the public’s interest in disclosure. See, e.g., In re iPhone
                    2   App. Litig., No. 11-md-02250-LHK, 2013 WL 12335013, at *2 (N.D. Cal. Nov. 25, 2013) (granting
                    3   motion to seal where the defendant’s interest in “maintaining the confidentiality of information
                    4   about its technology and internal business operations” outweighed that of the public in accessing
                    5   such documents).
                    6   II.    CONCLUSION
                    7          Pursuant to Civil Local Rule 79-5, as appropriate, redacted and unredacted versions of the
                    8   above-listed documents accompany this Unopposed Administrative Motion. For the foregoing
                    9   reasons, Meta respectfully requests that the Court grant their Joint Administrative Motion to Seal.
                   10

                   11   Dated: November 9, 2024                                 COOLEY LLP
                   12

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                   14                                                            Philip Morton
                                                                                 Mark Weinstein
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                   10
                                                         CERTIFICATE OF CONFERENCE
                   11               I hereby attest that I spoke with counsel for Plaintiffs, who confirmed they do not oppose
                   12   the relief sought in this motion. I declare under penalty of perjury that the foregoing is true and
                   13   correct.
                   14

                   15    Dated: November 8, 2024
                                                                                COOLEY LLP
                   16
                                                                                /s/Phillip E. Morton
                   17                                                           Phillip E. Morton
                                                                                Attorneys for Defendant
                   18                                                           Meta Platforms, Inc.

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